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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing

UNITED STATES DISTRICT COURT

United States of America
v.

TREMAINE BRENT
Defendant

for the
District of Nevada

Case No. 2:20-mj-971-ETY

ORDER SCHEDULING A DETENTION HEARING

A detention hearing in this case is scheduled as follows:

 

Place: 3331 as Vegas Blvd., South

Las Vegas, NV 89101

 

Lloyd D. George United States Courthouse

Elayna J. Youchah, U.S. Magistrate Judge

 

Courtroom No.:

3A

 

Date and Time:

 

November 12, 2020 at 4:00 p.m.

 

IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and

place set forth above.

Date: | November 6, 2020

  

  
 

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£ judge’ S signature

ELAYNA J. YOUCHAH, U.S. Magistrate Judge

 

 

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